                Case 6:21-cv-06621-EAW-MWP Document 140 Filed 09/26/23 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Western    District of        NY


                                                                    )
                                                                    )
         In re EASTMAN KODAK COMPANY
                                                                    )
         DERIVATIVE LITIGATION                                                Civil Action No.      21-CV-6621 EAW
                                                                    )
                                                                    )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

   the plaintiff (name)                                                                                       recover from the
defendant (name)                                                                                                 the amount of
                                                                           dollars ($               ), which includes prejudgment
interest at the rate of                  %, plus post judgment interest at the rate of             % per annum, along with costs.

    the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                   recover costs from the plaintiff (name)
                                            .

    other: Kodak’s motion to dismiss or for summary judgment is granted to the extent that it grants summary judgment on all of
the claims set forth herein pursuant to the NJBCA. The Clerk of Court is directed to enter judgment and close the case.
                                                                                                                                    .

This action was (check one):

   tried by a jury with Judge                                                                        presiding, and the jury has
rendered a verdict.

   tried by Judge                                                                        without a jury and the above decision
was reached.

   decided by Judge       Elizabeth A. Wolford                                                on a motion for dismissal or for
summary judgment in favor of Kodak.
                                                                                                                                    .

Date:             09/26/2023                                                 CLERK OF COURT



                                                                                         Signature of Clerk or Deputy Clerk
